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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 UNITED STATES OF AMERICA,

                     -against-                                            24-cr-542 (AS)
 SEAN COMBS,
                                                                             ORDER
                                 Defendant.



ARUN SUBRAMANIAN, United States District Judge:

       The Court is in receipt of the parties’ letter on the pretrial schedule. Dkt. 124. The following
schedule will apply in advance of the start of trial on May 5, 2025:
   1. Pretrial Motions
           a. Motions:                         February 17, 2025
           b. Oppositions:                     March 3, 2025
           c. Replies:                         March 10, 2025
   2. Enterprise Letter                        February 1, 2025
   3. Expert Notices
           a. Government:                      March 7, 2025
           b. Defendant:                       March 14, 2025
           c. Rebuttal:                        March 21, 2025
   4. Rule 404(b)/413 Notice                   March 7, 2025
   5. Motions in limine
           a. Motions:                         April 1, 2025
           b. Oppositions:                     April 11, 2025
   6. 3500 Material
           a. Production:                      March 21, 2025 (“Attorney Eyes Only”)
           b. Redesignation:                   April 4, 2025 for law enforcement witnesses and
                                               April 18, 2025 for other witnesses (“Attorney’s
                                               Possession Only”):
   7. Witness and Exhibit Lists
           a. Government:                      April 14, 2025
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         b. Defendant:                                        April 25, 2025
         c. Defendant’s Rule 26.2 Material:                   Close of Government’s case-
                                                              in-chief
   8. Jury Questionnaire Forms, RTCs, Voir Dire, and Verdict Forms
         a. Proposed Jury Questionnaire Forms:                April 11, 2025
         b. Requests to Charge, Voir Dire, and Verdict Forms: April 25, 2025


      SO ORDERED.

Dated: January 8, 2025
       New York, New York



                                                          ARUN SUBRAMANIAN
                                                          United States District Judge




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